                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
In The Matter of:                                Chapter 7
                                                 19-43761-PJS
Alexandra Lynn Lienhart                          Judge Shefferly


                                    PROOF OF SERVICE

       I hereby certify that on the 11th day of June, 2019, the Clerk of the Court entered the
Order Granting Relief from Automatic Stay & Waiving the Provisions of F.R.B.P.4001(a)(3) as
to Michigan State Housing Development Authority c/o LoanCare, LLC using the ECF system
which will send notification of such filing to the following:

Douglas Ellmann                               Kelli C. Meeks
308 West Huron                                455 E. Eisenhower Pkwy.
Ann Arbor, MI 48103-4204                      Suite 240
                                              Ann Arbor, MI 48108

And I hereby certify that I have mailed by United States Postal Service the Order Granting Relief
from Automatic Stay & Waiving the Provisions of F.R.B.P.4001(a)(3) as to Michigan State
Housing Development Authority c/o LoanCare, LLC to the following non-ECF participants:

JACKSON COUNTY TREASURER                     Alexandra Lynn Lienhart
120 W. Michigan Ave.                         306 E. McDevitt, #C
Jackson, MI 49201                            Jackson, MI 49203

Paul Randel                                  Brandon M. Hall
United States Trustee                        1513 Warren Ave.,
211 West Fort Street Suite 700               Jackson, MI 49203
Detroit, MI 48226



Execution on: 06/11/2019                By: /s/ Michael P. Hogan
                                        Michael P. Hogan (P63074)
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                                        Attorney for
                                        Michigan State Housing Development
                                        Authority c/o LoanCare, LLC
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